AO 187Case     1:16-cr-00026-MAC-ZJH
      (Rev. 7/87) Exhibit and Witness List        Document 659           Filed 06/13/18        Page 1 of 2 PageID #:
                                                         9506



                                UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF TEXAS

    UNITED STATES OF AMERICA                                                           CRAMER EXHIBIT LIST
                                                                                       PHASE III
                V.
    CHRISTOPHER EMORY CRAMER
     RICKY ALLEN FACKRELL                                                              Case Number: 1:16cr26
PRESIDING JUDGE                               PLAINTIFF’S ATTORNEY                       DEFENDANT’S ATTORNEY
        JUDGE MARCIA CRONE                     Joe Batte/John Craft/Sonia Jimenez        G. Patrick Black/Douglas Barlow/Robert
                                                                                         Morrow/ Gerald Bourque
TRIAL DATE (S)                                COURT REPORTER                             COURTROOM DEPUTY
         May 14 – June 12, 2018                   Tonya Jackson/Chris Bickham              Patricia Anding/FaithAnn Laurents
 PLF.   DEF.    DATE      MARKED   Admitted                          DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.    NO.    OFFERED

         3       5/29       X          X      Photo - Cramer as a child in church
         4       5/29       X          X      Photo - of Darla, Lorenzo, baby and other family members
         5       5/29       X          X      Photo – Pastor Miller and wife
         6       5/29       X          X      Photo – Front of church
         7       5/29       X          X      Photo – Joellar Hubbard
         8       5/29       X          X      Photo – Graduation 2005
         9        5/30      X          X      Photo – Cramer and his mother (Darla Dillon)
                                              School Records – Clackamas School District, Oklahoma City Public
         10      5/30       X          X      Schools and Marysville Joint Unified School District
         11      5/30       X          X      Prison Records
         12      5/30       X          X      School Record – Oklahoma City Public School
         13      5/30       X          X      School Record – Oklahoma City Public School
         14      5/30       X          X      Dr. Dan Roberts - Report

         15      5/30       X          X      Dr. Barbara Belbot - Report

         16      5/30       X          X      Mr. Tim Gravette - Report

         17      6/6/18     X          X      Dr. John Fabian - Report

         18      5/30       X          X      Photo – Aerial view of FCI - Talladega, Alabama

         19      5/30       X          X      Photo – Federal Detention Center - Miami, Florida
         20      5/30       X          X      Photo – FCI – Edgefield, South Carolina
         21      5/30       X          X      Photo – Federal Complex – Beaumont, Texas
         22      5/30       X          X      Photo – FCI – Three Rivers, Texas
Case
 23 1:16-cr-00026-MAC-ZJH
      5/30     X          Document
                     X Photo           659 of USP
                             – Aerial view    FiledAdministrative
                                                    06/13/18 Page     2 of 2Facility
                                                                  Maximum    PageID #:
                                    9507
 24   5/30     X     X Photo – ADX Inmate Cell View From Inside to Outside

 25    5/30     X       X    Photo – Typical ADX Cell Dimensions

 26    5/30     X       X    Photo – Two Inmate Cells Side by Side

 27    5/30     X       X    Photo – ADX Inmate Cell Showing Cell Window

 28    5/30     X       X    Photo – Typical Inmate Cell Door

 29    5/30     X       X    Photo – Inmate Cell View from the Outside Looking In

                             Photo – ADX Inmate Cell Sink/Toilet Combination, Desk, Light and
 30    5/30     X       X    Sitting Stool

                             Photo – Inmate Cell with Television, Shower, Concrete Bunk with
 31    5/30     X       X    Mattress, Desk with sitting stool
 32    5/30     X       X    Photo - ADX Inmate Cell

 33    5/30     X       X    Photo - Inner View Inmate Cell Sallyport

 34    5/30     X       X    Photo - Outer View Inmate Sallyport

 35    5/30     X       X    Photo - ADX Inmate Inside Recreation Area

 36    5/30     X       X    Photo - Additional View Inside Inmate Recreation Area

 37    5/30     X       X    Photo - Indoor Recreation Entrance Door

 38    5/30     X       X    Photo - Typical Range of Inmate Cells

 39    5/30     X       X    Photo - Range View Inmate Cells

 40    5/30     X       X    Photo - Upper and Lower Range Entrance Doors

 41    5/30     X       X    Photo - Lower Range Entrance Door

 42    5/30     X       X    Photo - Recreation Entrance Door

 43    5/30     X       X    Photo - ADX Inmate Outdoor Recreation Area

 44    5/30     X       X    Photo - Outdoor Recreation Access Door

 45    5/30     X       X    Photo - Bus Sallyport Entrance

 46    5/30     X       X    Photo - Receiving and Discharge Entrance Door

 47    5/30     X       X    Photo - Receiving and Discharge Door Inner View

 48    5/30     X       X    Photo - Receiving and Discharge Intake Area

 49    5/30     X       X    Photo - ADX Inmate Visiting Room

 50    5/30     X       X    Document – Soldiers of Aryan Culture – Introduction For All Members
